     Case 2:16-bk-21559-NB   Doc 692 Filed 05/15/24 Entered 05/15/24 13:14:16   Desc
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1 Rosendo Gonzalez [State Bar No. 137352]
  530 South Hewitt Street, Suite 148
2 Los Angeles, CA 90013
  Telephone: (213) 452-0071
3 Facsimile: (213) 452-0080

4 Chapter 7 Trustee

5
                             UNITED STATES BANKRUPTCY COURT
6                            CENTRAL DISTRICT OF CALIFORNIA
7

8 In re                                       ) Case No. 2:16-21559-NB
                                              ) Chapter 7
 9 DAVID MACMILLAN                            )
   CYNTHIA BARRETT MARTIN                     )
10                                            ) NOTICE OF UNCLAIMED
                                              ) DIVIDENDS
11                                            ) 3011
                         Debtor.              )
12                                            )
13

14
           TO KATHLEEN J. CAMPBELL, CLERK OF THE UNITED STATES BANKRUPTCY
15
     COURT:
16
           Please find annexed hereto check(s) totaling $135,942.25
17
     representing the total amount of unclaimed dividend(s) in the above-
18
     entitled debtor’s estate which will create a zero balance in the bank
19
     account. Said sum is paid over to you pursuant to Bankruptcy Rule
20
     3011. A list of the name(s), address(es) and amount(s) to be paid to
21
     each claimant entitled to said unclaimed dividend is attached.
22
     Dated: May 15, 2024
23

24                                       ____/s/ Rosendo Gonzalez_____________
                                              ROSENDO GONZALEZ
25
                                              Chapter 7 Trustee
26
                                             -1-
27
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1                                                    ATTACHMENT NO. 2

                                               LISTING OF DIVIDEND PAYMENTS
2                                   (EACH CREDITOR CLASS SHOULD BE LISTED SEPARATELY)

3    CLAIM    CHECK    NAME & ADDRESS OF CLAIMANT               AMOUNT          AMOUNT OF      INTERIM       AMOUNT OF
     NUMBER   NUMBER                                            CLAIMED          ALLOWED       PAYMENT        DIVIDEND
                                                                                  CLAIM
4
       32      4022    WYNDHAM VACATION RESORTS, INC.        25,000,000.00       128,179.91   128,179.91     128,179.91
                       C/O DANIEL M. ELIADES, ESQ.
5                      K&L GATES LLP
                       ONE NEWARK CENTER, 10TH FLOOR
6                      NEWARK, NJ 07102
       24      4034    ONE PERCENT MORE, INC.                   114,460.98       114,460.98     4,898.39       4,898.39
       33      4036    GEORGE DABAGHI V MERCHANT SOLUTIONS       65,000.00        65,000.00     2,781.69       2,781.69
7                      C/O SEVAG DEMIRJIAN
                       6320 CANOGA AVE #1547
8                      WOODLAND HILLS, CA 91367
       53      4038    CAPITAL ONE BANK (USA), N.A.               1,921.97         1,921.97          82.26        82.26
                       PO BOX 71083
9                      CHARLOTTE, NC 28272-1083
                                                 TOTALS:     25,181,382.95       309,562.86   135,942.25     135,942.25
10
                                            CASE NUMBER:     2:16-21559-NB
11                                            CASE NAME:     MACMILLAN, DAVID
                                      * Total also includes employee taxes withheld.
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